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     1 Mathew K. Higbee, Esq., (Ill. Bar No. 6319929)
       HIGBEE & ASSOCIATES
     2
       1504 Brookhollow Dr., Suite 112
     3 Santa Ana, CA 92705
       (714) 617-8349
     4 (714) 597-6559 facsimile
     5 Email: mhigbee@higbeeassociates.com
     6 Attorney for Plaintiff,
     7 ALEX MAXIM
     8
     9
                              UNITED STATES DISTRICT COURT
    10                        NORTHERN DISTRICT OF ILLINOIS
    11
         ALEX MAXIM,                                 Case No. ____________________
    12
    13                            Plaintiff,
                                                     COMPLAINT FOR DAMAGES AND
    14                                               INJUNCTIVE RELIEF
         v.
    15                                               DEMAND FOR JURY TRIAL
         JACKOLYN GAYDEN d/b/a JUELZ
    16   OF THE NILE; and DOES 1 through 10
    17   inclusive,

    18                            Defendant.
    19
    20
    21   Plaintiff, Alex Maxim alleges as follows:

    22                              JURISDICTION AND VENUE
    23
              1.       This is a civil action seeking damages and injunction relief for
    24
    25 copyright infringement under the Copyright Act of the United States, 17 U.S.C.
    26 § 101 et seq.
    27
              2.       This Court has subject matter jurisdiction over Plaintiff’s claims
    28
	
                                                     1
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     1 for copyright infringement pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §
     2
         1338(a).
     3
              3.       This Court has personal jurisdiction over Defendant because
     4
     5 Defendant conducts business and/or reside within the State of Illinois,
     6 Defendant’s acts of infringement complained of herein occurred in the State of
     7
       Illinois, and Defendant caused injury to Plaintiff within the State of Illinois.
     8
     9       4.       Venue in this judicial district is proper under 28 U.S.C. § 1391(c)

    10 and 1400(a) in that this is the judicial district in which a substantial part of the
    11
       acts and omissions giving rise to the claims occurred. Alternatively, venue is
    12
    13 also proper pursuant to 28 U.S.C. § 1400(b) because the Defendant resides and
    14 has a regular and established place of business in this judicial district.
    15
                                           PARTIES
    16
               5.      Plaintiff Alex Maxim (“Maxim” or “Plaintiff”) resides in
    17
    18 Nanaimo, British Columbia, Canada and is a professional photographer by trade.
    19
               6.      Plaintiff is informed and believes, and thereon alleges, that
    20
         Defendant Jackolyn Gayden (“Defendant”) is an individual doing business as
    21
    22 JUELZ OF THE NILE, with a principle place of business at 1460 S Eagon Lane,
    23 Round Lake, IL 60073.
    24
            7.     Defendant is the owner and operator of the website
    25
    26 www.juelzofthenile.com (“Defendant’s Website”) which Defendant uses to sell
    27 fashion products and accessories. A true and correct copy of the ICANN
    28
	
                                                     2
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     1 WHOIS database registrant information for Defendant’s Website is attached
     2
         hereto as Exhibit A.
     3
               8.      Plaintiff is unaware of the true names and capacities of the
     4
     5 Defendants sued herein as DOES 1 through 10, inclusive, and for that reason,
     6 sues such Defendants under such fictitious names. Plaintiff is informed and
     7
       believes and on that basis alleges that such fictitiously named Defendants are
     8
     9 responsible in some manner for the occurrences herein alleged, and that
    10 Plaintiff’s damages as herein alleged were proximately caused by the conduct of
    11
       said Defendants. Plaintiff will seek to amend the complaint when the names and
    12
    13 capacities of such fictitiously named Defendants are ascertained. As alleged
    14 herein, “Defendant” shall mean all named Defendants and all fictitiously named
    15
         Defendants.
    16
               9.      For the purposes of this Complaint, unless otherwise indicated,
    17
    18 “Defendant” includes all agents, employees, officers, members, directors, heirs,
    19
         successors, assigns, principals, trustees, sureties, subrogates, representatives and
    20
         insurers of Defendants named in this caption.
    21
    22                            FACTUAL ALLEGATIONS
    23          10.    Plaintiff Alex Maxim, is an acclaimed commercial and fine art
    24
         photographer noted for his editing and retouching skills. His photographs have
    25
    26   been used by such companies such as Marriot, CitiBank, Ganovia Coffee, Playboy,

    27   Vogue, New Beauty, Health Magazine, and others. Maxim licenses his work for
    28
	
                                                     3
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     1   editorial     and      advertising      purposes       through        his     website
     2
         https://www.maximimages.com/.
     3
                11.   Maxim is the sole author and exclusive rights holder to an original
     4
     5   image of a fashion model (the “Image”), which is available for licensing through
     6   Maxim’s website. A true and correct copy of Maxim’s original Image is attached
     7
         hereto as Exhibit B.
     8
     9          12.   Maxim registered his Image with the United States Copyright Office

    10   under registration number VA 1-756-486.
    11
                13.   Defendant     is   the   owner    and    operator   of     the   website
    12
    13   www.juelzofthenile.com (“Defendant’s Website”) which Defendant uses to sell

    14   fashion products and accessories.
    15
                14.   On or about November 2016, Maxim discovered that Defendant was
    16
         using the Image on Defendant’s Website to advertise Defendant’s jewelry
    17
    18   products, and as the background to certain pages of Defendant’s Website
    19
         (“Infringing Advertisements”). A true and correct copy of Defendants’ infringing
    20
         use of Plaintiff’s Image is attached hereto as Exhibit C.
    21
    22          15.   Maxim has no record of any license purchased by Defendant. Nor did
    23   Maxim ever consent to allow Defendant to use the Image to advertise Defendant’s
    24
         products.
    25
    26          16.   On or about April 20, 2017, Plaintiff’s counsel sent a cease and desist

    27   letter requesting, inter alia, that Defendant remove the Infringing Advertisements
    28
	
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     1   from its website.
     2
                  17.   Plaintiff’s counsel also attempted to reach defendant by phone and
     3
         email.
     4
     5            18.   Plaintiff’s counsel sent additional correspondence on or about October
     6   11, 2017.
     7
                  19.   As   of    the   date   of   this   Complaint,   Defendant’s   Infringing
     8
     9   Advertisements are still publically displayed on Defendant’s Website. Attached

    10   hereto as Exhibit D are true and correct time stamped screen shots showing that the
    11
         Infringing Advertisements are still publically accessible on Defendant’s Website;
    12
    13   See                   also                   https://www.juelzofthenile.com/about.html;

    14   https://www.juelzofthenile.com/uploads/3/7/1/0/37107993/background-
    15
         images/763860462.jpg;                                                               and
    16
         https://www.juelzofthenile.com/uploads/3/7/1/0/37107993/s484250614794003672_
    17
    18   c3_i1_w250.jpeg
    19
                  20.   On information and belief, Defendants’ use of the Image was
    20
         deliberate and willful.
    21
    22                               FIRST CAUSE OF ACTION
                                    COPYRIGHT INFRINGEMENT
    23                                  17 U.S.C. § 101 et seq
    24
                  21.   Plaintiff incorporates by reference all of the above paragraphs of this
    25
    26   Complaint as though fully stated herein.

    27            22.   Plaintiff did not consent to, authorize, permit, or allow in any manner
    28
	
                                                       5
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     1   the said use of Plaintiff’s unique and original Image.
     2
                23.   Plaintiff is informed and believes and thereon alleges that the
     3
         Defendants willfully infringed upon Plaintiff’s copyrighted Image in violation of
     4
     5   Title 17 of the U.S. Code, in that it used, published, communicated, benefited
     6   through, posted, publicized, and otherwise held out to the public for commercial
     7
         benefit, the original and unique Image of the Plaintiff without Plaintiff’s consent
     8
     9   by using them in the Infringing Advertisements.

    10          24.   As a result of Defendant’s violations of Title 17 of the U.S. Code,
    11
         Plaintiff is entitled to any actual damages pursuant to 17 U.S.C. §504(b), or
    12
    13   statutory damages in an amount up to $150,000.00 per infringement pursuant to 17

    14   U.S.C. § 504(c).
    15
                25.   As a result of the Defendant’s violations of Title 17 of the U.S. Code,
    16
         the court in its discretion may allow the recovery of full costs as well as reasonable
    17
    18   attorney’s fees and costs pursuant to 17 U.S.C § 505 from Defendant.
    19
                26.   Plaintiff is also entitled to injunctive relief to prevent or restrain
    20
         infringement of his copyright pursuant to 17 U.S.C. § 502.
    21
    22                                 PRAYER FOR RELIEF
    23   WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
    24
            • For statutory damages against Defendant in an amount up to $150,000.00
    25
    26          for each infringement pursuant to 17 U.S.C. § 504(c);
    27      • For general and special damages against Defendant according to proof
    28
	
                                                     6
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     1          together with interest thereon at the maximum legal rate;
     2
            • For costs of litigation and reasonable attorney’s fees against Defendant
     3
                pursuant to 17 U.S.C. § 505;
     4
     5      • For an injunction preventing Defendant from further infringement of all
     6
                copyrighted works of the Plaintiff pursuant to 17 U.S.C. § 502; and
     7
            • For any other relief the Court deems just and proper.
     8
     9
    10   Dated: January 26, 2018                       Respectfully submitted,
    11
                                                       /s/ Mathew K. Higbee
    12                                                 Mathew K. Higbee, Esq.
    13                                                 Ill. Bar No. 6319929
                                                       HIGBEE & ASSOCIATES
    14                                                 1504 Brookhollow Dr., Ste 112
    15                                                 Santa Ana, CA 92705-5418
                                                       (714) 617-8349
    16                                                 (714) 597-6559 facsimile
    17                                                 Counsel for Plaintiff

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     1                             DEMAND FOR JURY TRIAL
     2
                Plaintiff, Alex Maxim hereby demands a trial by jury in the above matter.
     3
     4
     5   Dated: January 26, 2018                       Respectfully submitted,
     6
     7                                                 /s/ Mathew K. Higbee
                                                       Mathew K. Higbee, Esq.
     8                                                 Ill. Bar No. 6319929
     9                                                 HIGBEE & ASSOCIATES
                                                       1504 Brookhollow Dr., Ste 112
    10                                                 Santa Ana, CA 92705-5418
    11                                                 (714) 617-8349
                                                       (714) 597-6559 facsimile
    12                                                 Counsel for Plaintiff
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               Exhibit	“A”	
                    	
                    	
                    	
                    	
                    	
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                            简体中⽂            English        Français   Русский   Español   ‫اﻟﻌرﺑﯾﺔ‬   Portuguese



                         ICANN WHOIS


            www.juelzofthenile.com                                     Lookup


  



       Showing results for: juelzofthenile.com
       Original Query: www.juelzofthenile.com




            Contact Information
            Registrant Contact
            Name: JACKOLYN GAYDEN
            Organization:
            Mailing Address: 1460 S Eagon ln, Round Lake IL 60073 US
            Phone: +1.8475461095
            Ext:
            Fax:
            Fax Ext:
            Email:babyrhinehart@yahoo.com

            Admin Contact
            Name: JACKOLYN GAYDEN
            Organization:
            Mailing Address: 1460 S Eagon ln, Round Lake IL 60073 US
            Phone: +1.8475461095
            Ext:
            Fax:
            Fax Ext:
            Email:babyrhinehart@yahoo.com

            Tech Contact
            Name: JACKOLYN GAYDEN
            Organization:
            Mailing Address: 1460 S Eagon ln, Round Lake IL 60073 US
            Phone: +1.8475461095
https://whois.icann.org/en/lookup?name=www.juelzofthenile.com                                                    1/4
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            Ext:
            Fax:
            Fax Ext:
            Email:babyrhinehart@yahoo.com




            Registrar
            WHOIS Server: whois.register.com
            URL: http://www.register.com
            Registrar: Register.com, Inc.
            IANA ID: 9
            Abuse Contact Email:abuse@web.com
            Abuse Contact Phone: +1.8773812449




            Status
            Domain Status:clientTransferProhibited http://icann.org/epp#clientTransferProhibited




            Important Dates
            Updated Date: 2017-12-23
            Created Date: 2016-01-08
            Registrar Expiration Date: 2020-01-08




            Name Servers
            dns1.register.com
            dns2.register.com




            Raw WHOIS Record

            Domain Name: juelzofthenile.com
            Registry Domain ID: 1992472416_DOMAIN_COM-VRSN
            Registrar WHOIS Server: whois.register.com
https://whois.icann.org/en/lookup?name=www.juelzofthenile.com                                      2/4
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            Registrar URL: http://www.register.com
            Updated Date: 2017-12-23T06:00:17Z
            Creation Date: 2016-01-08T01:07:34Z
            Registrar Registration Expiration Date: 2020-01-08T01:07:34Z
            Registrar: Register.com, Inc.
            Registrar IANA ID: 9
            Registrar Abuse Contact Email: abuse@web.com
            Registrar Abuse Contact Phone: +1.8773812449
            Reseller:
            Domain Status: clientTransferProhibited
            http://icann.org/epp#clientTransferProhibited
            Registry Registrant ID:
            Registrant Name: JACKOLYN GAYDEN
            Registrant Organization:
            Registrant Street: 1460 S Eagon ln
            Registrant City: Round Lake
            Registrant State/Province: IL
            Registrant Postal Code: 60073
            Registrant Country: US
            Registrant Phone: +1.8475461095
            Registrant Phone Ext.:
            Registrant Fax:
            Registrant Fax Ext.:
            Registrant Email: babyrhinehart@yahoo.com
            Registry Admin ID:
            Admin Name: JACKOLYN GAYDEN
            Admin Organization:
            Admin Street: 1460 S Eagon ln
            Admin City: Round Lake
            Admin State/Province: IL
            Admin Postal Code: 60073
            Admin Country: US
            Admin Phone: +1.8475461095
            Admin Phone Ext.:
            Admin Fax:
            Admin Fax Ext.:
            Admin Email: babyrhinehart@yahoo.com
            Registry Tech ID:
            Tech Name: JACKOLYN GAYDEN
            Tech Organization:
            Tech Street: 1460 S Eagon ln
            Tech City: Round Lake
            Tech State/Province: IL
            Tech Postal Code: 60073
            Tech Country: US
            Tech Phone: +1.8475461095
            Tech Phone Ext.:
            Tech Fax:
            Tech Fax Ext.:
            Tech Email: babyrhinehart@yahoo.com
            Name Server: dns1.register.com
            Name Server: dns2.register.com
            DNSSEC: Unsigned
            URL of the ICANN WHOIS Data Problem Reporting System:
https://whois.icann.org/en/lookup?name=www.juelzofthenile.com                                  3/4
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            http://wdprs.internic.net/
            >>> Last update of WHOIS database: 2018-01-25T22:27:44Z <<<

            For more information on Whois status codes, please visit
            https://www.icann.org/resources/pages/epp-status-codes-2014-06-16-
            en.

            The data in Register.com's WHOIS database is provided to you by
            Register.com for information purposes only, that is, to assist you
            in
            obtaining information about or related to a domain name
            registration
            record. Register.com makes this information available "as is," and
            does not guarantee its accuracy. By submitting a WHOIS query, you
            agree that you will use this data only for lawful purposes and
            that,
            under no circumstances will you use this data to: (1) allow,
            enable,
            or otherwise support the transmission of mass unsolicited,
            commercial
            advertising or solicitations via direct mail, electronic mail, or
            by
            telephone; or (2) enable high volume, automated, electronic
            processes
            that apply to Register.com (or its systems). The compilation,
            repackaging, dissemination or other use of this data is expressly
            prohibited without the prior written consent of Register.com.
            Register.com reserves the right to modify these terms at any time.
            By submitting this query, you agree to abide by these terms.




       Submit a Complaint for WHOIS
       WHOIS Inaccuracy Complaint Form
       WHOIS Service Complaint Form

       WHOIS Compliance FAQs



NOTICE, DISCLAIMERS AND TERMS OF USE:

All results shown are captured from registries and/or registrars and are framed in real-time.  ICANN
does not generate, collect, retain or store the results shown other than for the transitory duration
necessary to show these results in response to real-time queries.*  These results are shown for the sole
purpose of assisting you in obtaining information about domain name registration records and for no
other purpose.  You agree to use this data only for lawful purposes and further agree not to use this
data (i) to allow, enable, or otherwise support the transmission by email, telephone, or facsimile of mass
unsolicited, commercial advertising, or (ii) to enable high volume, automated, electronic processes to
collect or compile this data for any purpose, including without limitation mining this data for your own
personal or commercial purposes.  ICANN reserves the right to restrict or terminate your access to the


https://whois.icann.org/en/lookup?name=www.juelzofthenile.com                                           4/4
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                Exhibit	“B”	
                     	
                     	
                     	
                     	
                     	
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                Exhibit	“C”	
                     	
                     	
                     	
                     	
                     	
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                Exhibit	“D”	
                     	
                     	
                     	
                     	
                     	
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